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                                       Certificate Number: 13858-FLM-DE-038519043
                                       Bankruptcy Case Number: 24-02642


                                                        13858-FLM-DE-038519043




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on May 28, 2024, at 8:29 o'clock PM EDT, Karlyle C Jones
completed a course on personal financial management given by internet by
MoneySharp Credit Counseling Inc., a provider approved pursuant to 11 U.S.C.
111 to provide an instructional course concerning personal financial management
in the Middle District of Florida.




Date:   May 28, 2024                   By:        /s/Seleste Muniz


                                       Name: Seleste Muniz


                                       Title:     Counselor
